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                              UNITED STATES OF AMERICA
                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION




UNITED STATES OF AMERICA,           )
                                    )
            Plaintiff,              )                    Case No. 1:12-cr-00101
                                    )
v.                                  )                    Honorable Janet T. Neff
                                    )
LUCIOUS LEE FELDER ,                )
                                    )
            Defendant.              )
____________________________________)


                             REPORT AND RECOMMENDATION

                Pursuant to W.D. MICH. L.CR.R. 11.1, I conducted a plea hearing in the captioned

case on October 11, 2012, after receiving the written consent of defendant and all counsel. At the

hearing, defendant Lucious Lee Felder entered a plea of guilty to the Superseding Felony

Information in exchange for the undertakings made by the government in the written plea agreement.

In the Superseding Felony Information, defendant is charged with conspiracy to commit identity theft

and bank fraud in violation of 18 U.S.C. §§ 1028(a)(7) and 1344. On the basis of the record made

at the hearing, I find that defendant is fully capable and competent to enter an informed plea; that the

plea is made knowingly and with full understanding of each of the rights waived by defendant; that

it is made voluntarily and free from any force, threats, or promises, apart from the promises in the

plea agreement; that the defendant understands the nature of the charge and penalties provided by

law; and that the plea has a sufficient basis in fact.
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                I therefore recommend that defendant's plea of guilty to the Superseding Felony

Information be accepted, that the court adjudicate defendant guilty, and that the written plea

agreement be considered for acceptance at the time of sentencing. Acceptance of the plea,

adjudication of guilt, acceptance of the plea agreement, and imposition of sentence are specifically

reserved for the district judge.



Date: October 11, 2012                                 /s/ Ellen S. Carmody
                                                      ELLEN S. CARMODY
                                                      United States Magistrate Judge



                                      NOTICE TO PARTIES

                You have the right to de novo review of the foregoing findings by the district judge.
Any application for review must be in writing, must specify the portions of the findings or proceed-
ings objected to, and must be filed and served no later than14 days after the plea hearing. See W.D.
MICH. L.CR.R. 11.1(d).




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